                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        DOCKET NO. 3:12-CR-259-RJC-DCK


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )
                                    )
WARREN F. TOWSING, JR.,             )
                                    )
                  Defendant.        )
____________________________________)


       THIS MATTER IS BEFORE THE COURT on the “Motion To Unseal Case Documents”

(Document No. 15) filed August 29, 2012 by the Government regarding the above captioned matter.

       For good cause shown,

       IT IS, THEREFORE, ORDERED that all case documents shall be unsealed.

       SO ORDERED.

                                              Signed: August 30, 2012




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